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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 ZACHARY CARL ROTH, SR. et al,

          Plaintiffs,

 v.                                                  Case No. 1:19-cv-02179

 ISLAMIC REPUBLIC OF IRAN,

          Defendant.

               PLAINTIFFS’ RENEWED MOTION FOR DEFAULT JUDGMENT
                              REGARDING LIABILITY

         Pursuant to FRCP 55(b)(2) and 28 U.S.C. § 1608(e), Plaintiffs hereby move for default

findings regarding Defendant’s liability. In support, Plaintiffs state:

         1.       On March 20, 2020, Plaintiffs filed their Third Amended Complaint seeking

damages for their injuries, including solatium damages for family members. [Doc. #27.]

         2.       On October 5, 2020, Plaintiffs effected service of process on Defendant. [Doc.

#37.]

         3.       Despite being properly served, Defendant has elected not to respond or otherwise

participate in this Case.

         4.       On December 9, 2020, the Clerk entered an Entry of Default in this case. [Doc.

#39.].

         5.       On April 21, 2022, Plaintiffs filed their original Motion for Default Judgment

Regarding Liability and supporting evidence. [Docs. ##44-45, 54-86].

         6.       On February 7, 2022, this Court entered an order denying Plaintiffs’ Motion for

Default Judgment without prejudice, and providing Plaintiffs’ leave to file this Renewed Motion

for Default Judgment by May 16, 2022. [Doc. #88 and 4/22/22 Minute Order].
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       7.       Evidence regarding Plaintiffs’ right to relief against Defendant was attached to

Plaintiffs’ April 12, 2021 Motion and Memorandum in Support of Default Judgment Regarding

Liability as Exhibits 1-8, 10-22, 24-35 [Docs. ##43, 45, 54-86].

       8.       Additional evidence has been filed with Plaintiffs’ Renewed Memorandum In

Support of Default Judgment which includes Attachment B, the report and declaration of

Michael Pregent and amended declarations, Exhibits 4a and 17a which is incorporated herein by

reference.

       9.       Pursuant to Federal Rule of Evidence 201, Plaintiffs request that this Court take

judicial notice of the facts involving Defendant’s activities in Iraq and the Middle East. See, e.g.,

Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48 (D.D.C. 2018); Frost v. Islamic Republic of

Iran, 383 F. Supp. 3d 33 (D.D.C. 2019); Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12

(D.D.C. 2019); W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117 (D.D.C. 2019); Karcher,

CV 16-232 (CKK), 2021 WL 133507 (D.D.C. Jan. 14, 2021); Lee v. Islamic Republic of Iran,

19-CV-00830 (APM), 2021 WL 325958 (D.D.C. Feb. 1, 2021).

       10.      Upon entry of default judgment regarding liability, Plaintiffs will submit evidence

of their damages and request entry of a default judgment on all issues.

       WHEREFORE, Plaintiffs request that this Court find satisfactory evidence of

Defendant’s liability, enter default findings regarding Defendant’s liability, proceed as soon as

practicable to determine Plaintiffs’ damages, enter a judgment for Plaintiffs and against

Defendant, and grant Plaintiffs such other relief as this Court deems just and proper.

DATED: May 16, 2022.                          Respectfully submitted,



                                              By: /s/ Bradley M. Lakin
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